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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  TODD MASEL, Individually and on behalf of
  all others similarly situated,

          Plaintiff,                                  Case No:

          v.
                                                      JURY TRIAL DEMANDED
  THE CHEMOURS COMPANY, MARK E.
  NEWMAN, SAMEER RALHAN, and
  JONATHAN LOCK,

          Defendants.


                       CLASS ACTION COMPLAINT FOR VIOLATIONS
                          OF THE FEDERAL SECURITIES LAWS

       Plaintiff Todd Masel (“Plaintiff”), individually and on behalf of all other persons similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants

(defined below), alleges the following based upon personal knowledge as to Plaintiff and

Plaintiff’s own acts, and information and belief as to all other matters, based upon, among other

things, the investigation conducted by and through his attorneys, which included, among other

things, a review of the Defendants’ public documents, and announcements made by Defendants,

public filings, wire and press releases published by and regarding The Chemours Company

(“Chemours” or the “Company”), and information readily obtainable on the Internet. Plaintiff

believes that substantial evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.




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  I.   NATURE OF THE ACTION

       1.      This is a class action on behalf of persons or entities who purchased or otherwise

acquired publicly traded Chemours securities between April 28, 2023 and February 28, 2024,

inclusive (the “Class Period”). Plaintiff seeks to recover compensable damages caused by

Defendants’ violations of the federal securities laws under the Securities Exchange Act of 1934

(the “Exchange Act”).

 II.   JURISDICTION AND VENUE

       2.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).

       4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged misstatements entered and the

subsequent damages took place in this judicial district.

       5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

III.   PARTIES

       6.      Plaintiff Todd Masel, as set forth in the accompanying certification, incorporated

by reference herein, purchased Chemours securities during the Class Period and was economically

damaged thereby.



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        7.     Chemours describes itself as a “leading, global provider of performance chemicals

that are key inputs in end-products and processes in a variety of industries.”

        8.     The Company is incorporated in Delaware and its head office is located at 1007

Market Street Wilmington, Delaware 19801. Chemours’ common stock trades on the New York

Stock Exchange (the “NYSE”) under the ticker symbol “CC.”

        9.     Defendant Mark E. Newman (“Newman”) served as the Chief Executive Officer

(“CEO”) and President throughout the Class Period. On February 28, 2024, he was placed on

administrative leave.

        10.    Defendant Sameer Ralhan (“Ralhan”) served as the Company’s Chief Financial

Officer (“CFO”) and Senior Vice President from the beginning of the Class Period until June 6,

2023.

        11.    Defendant Jonathan Lock (“Lock”) served as the Company’s CFO and Senior Vice

President from June 6, 2023 through the end of the Class Period. On February 28, 2024, he was

placed on administrative leave.

        12.    Defendants Newman, Ralhan, and Lock are collectively referred to herein as the

“Individual Defendants.”

        13.    Each of the Individual Defendants:

               (a)      directly participated in the management of the Company;

               (b)      was directly involved in the day-to-day operations of the Company at the

                        highest levels;

               (c)      was privy to confidential proprietary information concerning the Company

                        and its business and operations;




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                (d)    was directly or indirectly involved in drafting, producing, reviewing and/or

                       disseminating the false and misleading statements and information alleged

                       herein;

                (e)    was directly or indirectly involved in the oversight or implementation of

                       the Company’s internal controls;

                (f)    was aware of or recklessly disregarded the fact that the false and

                       misleading statements were being issued concerning the Company; and/or

                (g)    approved or ratified these statements in violation of the federal securities

                       laws.

       14.      The Company is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency because all of

the wrongful acts complained of herein were carried out within the scope of their employment.

       15.      The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to the Company under respondeat superior and agency principles.

       16.      Chemours and the Individual Defendants are collectively referred to herein as

“Defendants.”

IV.    SUBSTANTIVE ALLEGATIONS

       A. Materially False and Misleading Statements Issued During the Class Period
       17.      On April 28, 2023, the Company filed with the SEC its quarterly report on form

10-Q for the period ended March 31, 2023 (the “1Q23 Report”). Attached to the 1Q23 Report

were certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”) signed by Defendants

Newman and Ralhan attesting to the accuracy of financial reporting, the disclosure of any material

changes to the Company’s internal control over financial reporting, and the disclosure of all fraud.



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       18.     The 1Q23 Report contained the following statement regarding the Company’s

internal controls:

       We maintain disclosure controls and procedures designed to provide reasonable assurance
       that the information required to be disclosed in our reports filed or submitted under the
       Securities Exchange Act of 1934 (“Exchange Act”) is recorded, processed, summarized,
       and reported within the time periods specified in the rules and forms of the U.S. Securities
       and Exchange Commission (“SEC”). These controls and procedures also provide
       reasonable assurance that information required to be disclosed in such reports is
       accumulated and communicated to management, including our Chief Executive Officer
       (“CEO”) and Chief Financial Officer (“CFO”), to allow timely decisions regarding
       required disclosures.

       As of March 31, 2023, our CEO and CFO, together with management, conducted an
       evaluation of the effectiveness of our disclosure controls and procedures as defined in
       Rule 13a-15(e) under the Exchange Act. Based on that evaluation, the CEO and CFO have
       concluded that these disclosure controls and procedures are effective at the reasonable
       assurance level.

       19.     This statement was materially false and misleading because the Company

maintained weak internal controls which would ultimately lead to it being unable to file its 10-K

for the 2023 fiscal year.

       20.     On July 28, 2023, the Company filed with the SEC its quarterly report on form 10-

Q for the period ended June 30, 2023 (the “2Q23 Report”). Attached to the 2Q23 Report were

certifications pursuant to SOX signed by Defendants Newman and Lock attesting to the accuracy

of financial reporting, the disclosure of any material changes to the Company’s internal control

over financial reporting, and the disclosure of all fraud.

       21.     The 2Q23 Report contained the following statement:


       We maintain disclosure controls and procedures designed to provide reasonable assurance
       that the information required to be disclosed in our reports filed or submitted under the
       Securities Exchange Act of 1934 (“Exchange Act”) is recorded, processed, summarized,
       and reported within the time periods specified in the rules and forms of the U.S. Securities
       and Exchange Commission (“SEC”). These controls and procedures also provide
       reasonable assurance that information required to be disclosed in such reports is
       accumulated and communicated to management, including our Chief Executive Officer


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       (“CEO”) and Chief Financial Officer (“CFO”), to allow timely decisions regarding
       required disclosures.

       As of June 30, 2023, our CEO and CFO, together with management, conducted an
       evaluation of the effectiveness of our disclosure controls and procedures as defined in
       Rule 13a-15(e) under the Exchange Act. Based on that evaluation, the CEO and CFO have
       concluded that these disclosure controls and procedures are effective at the reasonable
       assurance level.
       22.     This statement was materially false and misleading because the Company
maintained weak internal controls which would ultimately lead to it being unable to file its 10-K
for the 2023 fiscal year.

       23.     On October 27, 2023, the Company filed with the SEC its quarterly report on form

10-Q for the period ended September 30, 2023 (the “3Q23 Report”). Attached to the 3Q23 Report

were certifications pursuant to SOX signed by Defendants Newman and Lock attesting to the

accuracy of financial reporting, the disclosure of any material changes to the Company’s internal

control over financial reporting, and the disclosure of all fraud.

       24.     The 3Q23 Report contained the following statement:

       We maintain disclosure controls and procedures designed to provide reasonable assurance
       that the information required to be disclosed in our reports filed or submitted under the
       Securities Exchange Act of 1934 (“Exchange Act”) is recorded, processed, summarized,
       and reported within the time periods specified in the rules and forms of the U.S. Securities
       and Exchange Commission (“SEC”). These controls and procedures also provide
       reasonable assurance that information required to be disclosed in such reports is
       accumulated and communicated to management, including our Chief Executive Officer
       (“CEO”) and Chief Financial Officer (“CFO”), to allow timely decisions regarding
       required disclosures.

       As of September 30, 2023, our CEO and CFO, together with management, conducted an
       evaluation of the effectiveness of our disclosure controls and procedures as defined in
       Rule 13a-15(e) under the Exchange Act. Based on that evaluation, the CEO and CFO have
       concluded that these disclosure controls and procedures are effective at the reasonable
       assurance level.




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         25.    This statement was materially false and misleading because the Company

maintained weak internal controls which would ultimately lead to it being unable to file its 10-K

for the 2023 fiscal year.

         26.    The statements contained in ¶¶ 18, 21, and 24 were materially false and/or

misleading because they misrepresented and failed to disclose the following adverse facts

pertaining to the Company’s business, operations and prospects, which were known to

Defendants or recklessly disregarded by them. Specifically, Defendants made false and/or

misleading statements and/or failed to disclose that: (1) The Chemours Company maintained

weak internal controls and; (2) as a result, Defendants’ statements about its business, operations,

and prospects, were materially false and misleading and/or lacked a reasonable basis at all relevant

times.

         B. THE TRUTH BEGINS TO EMERGE

         27.    On February 13, 2024, after market hours, Chemours filed with the SEC a current

report on Form 8-K. Attached to this was a press release, in which Chemours announced the

following:

         The Chemours Company (“Chemours”or “the Company") (NYSE: CC) today announced
         that it has postponed the release of its financial results and conference call related to
         the fourth quarter and full year ended December 31, 2023, which had previously been
         scheduled for February 14, 2024 and February 15, 2024, respectively. Chemours
         currently expects to issue its fourth quarter and full year 2023 financial results after market
         close on Wednesday, February 28, 2024. The Company currently expects to hold its
         webcast conference call, focused on Q&A, on Thursday, February 29, 2024, at 8:00 a.m.
         Eastern Standard Time. The Company also currently expects to file its Annual Report on
         Form 10-K for the year ended December 31, 2023 on February 29, 2024.

         The Company is delaying the release of financial results and the conference call because
         it needs additional time to complete its year-end reporting process. The Company is
         evaluating its internal control over financial reporting as of December 31, 2023 with
         respect to maintaining effective controls related to information and communications.
         The Company’s Audit Committee also needs additional time to complete a related
         internal review.


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       (Emphasis added).

       28.     On this news, Chemours’ stock fell $3.85 per share, or 12.6%, to close at $26.64

per share on February 14, 2024.

       29.     Then, on February 29, 2024, before the market opened, the Company filed with

the SEC a late filing notice on form NT 10-K (the “Late Filing Notice”). In the Late Filing Notice,

the Company disclosed, among other things, that it was evaluating material weakness with respect

to the “tone at the top” set by senior management. The Late Filing Notice stated the following:

       The Chemours Company (the “Company”) has determined that it is unable to timely file
       its Annual Report on Form 10-K for the fiscal year ended December 31, 2023 (the
       “Form 10-K”) without unreasonable effort or expense for the reasons discussed below.

       The Company needs additional time to complete its year-end reporting process,
       including its review of internal control over financial reporting as of December 31,
       2023, and for the Audit Committee of the Board of Directors to complete a related internal
       review. As a result, the Company will delay its filing of its Annual Report on Form 10-
       K for the year ended December 31, 2023.

       The internal review is being overseen by the Audit Committee with the assistance of
       independent outside counsel, which scope includes the processes for reviewing reports
       made to the Chemours Ethics Hotline, the Company’s practices for managing working
       capital, including the related impact on metrics within the Company’s incentive plans,
       certain non-GAAP metrics included in filings made with the Securities and Exchange
       Commission or otherwise publicly released, and related disclosures. As a result, the
       Company is evaluating one or more potential material weaknesses in its internal control
       over financial reporting as of December 31, 2023 with respect to maintaining effective
       controls related to the control environment, including the effectiveness of the “tone at
       the top” set by certain members of senior management and information and
       communication components of the COSO internal control framework. The Audit
       Committee is working with independent outside counsel to complete the review
       expeditiously, and the Company expects to report on any material weaknesses as of
       December 31, 2023 and its related remediation efforts in its Annual Report on Form 10-
       K.

       The Board of Directors of the Company has appointed Denise Dignam as the Interim Chief
       Executive Officer and Matthew Abbott as the Interim Chief Financial Officer (principal
       financial and accounting officer). Ms. Dignam has been serving as the Company’s
       President – Titanium Technologies since March 2023 and previously served as President
       – Advanced Performance Materials from 2021 to 2023. She previously served as Vice


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       President of Global Operations – Fluoroproducts, from 2019 to 2021; Global Senior
       Business Director – Fluoropolymers, from 2016 to 2019; and North American Business
       Director – Diversified Technologies and Industrial Resins, from 2015 to 2016. Previously,
       she worked at E.I. du Pont de Nemours and Company (“EID”) in various roles, including
       Director of Global Supply Chain – Fluoroproducts, from 2013 to 2014; Global Business
       Manager of Sulfur Products, from 2009 to 2013; and Global Sales Manager of Clean
       Technologies from 2007 to 2009. Ms. Dignam joined EID in 1988 as a design engineer.
       Mr. Abbott has been serving as the Company’s Senior Vice President & Chief Enterprise
       Transformation Officer, with responsibility for Enterprise Capital Projects and
       Engineering Technology, Information Technology, Cyber Security, Digital and Data
       Analytics, and Procurement, since June 2023. Mr. Abbott previously served as Chemours’
       Vice President, Digital and Data Analytics Leader from 2021 to 2023 where he was central
       to designing digital strategies to accelerate Chemours’ journey to becoming a data-driven
       organization. Past roles at Chemours included Vice President, Chief Accounting Officer
       and Controller from 2019 to 2021; and Vice President and Chief Audit Executive from
       2017 to 2019. Prior to joining Chemours, Mr. Abbott was a Partner at
       PricewaterhouseCoopers LLP (“PwC”) for five years, with nearly twenty total years of
       experience serving PwC’s industrial products and high-technology clients. These
       management actions follow the decision of the Board of Directors to place President and
       Chief Executive Officer Mark Newman, Senior Vice President and Chief Financial Officer
       Jonathan Lock and Vice President, Controller and Principal Accounting Officer Camela
       Wisel on administrative leave pending completion of the Audit Committee review
       described above. Accordingly, in addition to the factors described above, the Interim Chief
       Executive Officer and Interim Chief Financial Officer each need additional time to
       complete their reviews of the Annual Report on Form 10-K.

       The Company does not currently expect that it will be able to file the Form 10-K on or
       before the fifteenth calendar day following the February 29, 2024 prescribed filing date
       as a result of the circumstances described above. The Company will seek to resolve these
       issues as soon as practicable and plans to file the Form 10-K as soon as possible.

       (Emphasis added).

       30.    Also on February 29, 2024, before the market opened, the Company filed with the

SEC a current report on Form 8-K in which it announced the following:

       On February 28, 2024, the Board of Directors of The Chemours Company (“Chemours”
       or the “Company”) appointed Denise Dignam as the Interim Chief Executive Officer and
       Matthew Abbott as the Interim Chief Financial Officer (principal financial and accounting
       officer). On February 28, 2024, the Board placed President and Chief Executive Officer
       Mark Newman, Senior Vice President and Chief Financial Officer Jonathan Lock and
       Vice President, Controller and Principal Accounting Officer Camela Wisel on
       administrative leave pending completion of the Audit Committee review described in the
       press release attached as Exhibit 99.1 to the Current Report on Form 8-K furnishing select
       unaudited preliminary estimates of operating results and other financial measures as of


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       and for the year ended December 31, 2023, furnished to the Securities and Exchange
       Commission on the date hereof.

       (Emphasis added).

       31.     Also on February 29, 2024, during market hours, The Wall Street Journal

published an article entitled “Chemical Giant Chemours Suspends Top Executives, Opens

Accounting Probe.” The article stated the following, in pertinent part:

       Chemours shares fell more than 35% Thursday after the company said it was putting its
       top executives on leave and delaying its audited financial filings amid an internal
       investigation into its bookkeeping, compensation and ethics-hotline reports.

       The announcement spooked investors who were expecting the Teflon maker to report
       its latest financial results. Instead, the company’s board of directors said it was working
       with a law firm to conduct an investigation. The stock’s drop erased about $2 billion in
       market value at the share’s lowest price Thursday.

       The company said it put Chief Executive Mark Newman on leave, as well as Chief
       Financial Officer Jonathan Lock and its chief accounting officer, Camela Wisel.

       Newman has been CEO since 2021 and had previously served as the first finance chief
       when Chemours was carved out of DuPont. Lock became finance chief in June 2023
       after holding other executive roles at the company since 2018. Wisel became chief
       accounting officer in fall 2021 and was previously treasurer.

                                            *     *      *
       In securities filings Thursday morning, Chemours said it is looking into reports made to
       its ethics hotline, how the company managed working capital, and how that in turn affected
       incentive compensation plans and custom metrics reported to investors and the Securities
       and Exchange Commission.

       It also said the review, led by its audit committee, is taking into account “the ‘tone at the
       top’ set by certain members of senior management.”

       Typically, when companies disclose internal reviews, the underlying issues stem from
       processes related to financial reporting, said Arun Viswanathan, a research analyst at
       RBC Capital Markets. “This appears that it’s a bit broader and deeper than that,” he
       said, pointing to the company’s review of its ethics hotline.

       Chemours said it is evaluating one or more potential material weaknesses in its internal
       control over financial reporting, and that it would delay its earnings release.




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       The company expects to report 2023 sales of about $6 billion, down from $6.8 billion a
       year earlier, and a loss of $225 million to $235 million because of litigation and
       restructuring charges. It said it didn’t expect to file audited results within 15 days and
       cautioned investors not to place “undue reliance” on preliminary results.

       Denise Dignam, president of one of the segments, has taken over as interim CEO,
       while Matt Abbott, the chief enterprise transformation officer, has stepped in as interim
       finance chief. Abbott had previously served as chief accounting officer and controller at
       Chemours.

       Chemours said the audit committee’s review includes the company’s use of financial
       measures that fall outside U.S. generally accepted accounting principles, also called non-
       GAAP measures.

       In mid-December, the Securities and Exchange Commission queried Chemours about
       several non-GAAP measures in its securities filings, a few of which the company has used
       when setting executives’ incentive pay. Lock, the CFO now on leave, signed the
       company’s Dec. 22 response to the agency.

       It couldn’t be determined if the non-GAAP metrics that the SEC was pressing Chemours
       about were the same non-GAAP metrics the company was referring to when describing
       its internal review.

       For years, executive-pay critics have argued that some kinds of adjustments made to
       calculate non-GAAP financial results are susceptible to manipulation by executives in
       ways that can increase the executives’ pay, including by timing operating transactions
       carefully.

       (Emphasis added).

       32.    On this news, On this news, the price of Chemours’ stock fell $9.05 per share, or

31.51%, to close at $19.67 per share on February 29, 2024.

       33.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s common shares, Plaintiff and other Class members have

suffered significant losses and damages.

V.   PLAINTIFF’S CLASS ACTION ALLEGATIONS

       34.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than defendants



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who acquired Chemours securities publicly traded on the NYSE during the Class Period, and who

were damaged thereby (the “Class”). Excluded from the Class are Defendants, the officers and

directors of the Company, members of the Individual Defendants’ immediate families and their

legal representatives, heirs, successors or assigns and any entity in which Defendants have or had

a controlling interest.

        35.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, the Company’s securities were actively traded on the

NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds, if not

thousands of members in the proposed Class.

        36.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        37.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

        38.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               whether the Exchange Act was violated by Defendants’ acts as alleged herein;

               whether statements made by Defendants to the investing public during the Class

                Period misrepresented material facts about the business and financial condition of

                the Company;



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               whether Defendants’ public statements to the investing public during the Class

                Period omitted material facts necessary to make the statements made, in light of

                the circumstances under which they were made, not misleading;

               whether the Defendants caused the Company to issue false and misleading filings

                during the Class Period;

               whether Defendants acted knowingly or recklessly in issuing false filings;

               whether the prices of the Company’s securities during the Class Period were

                artificially inflated because of the Defendants’ conduct complained of herein; and

               whether the members of the Class have sustained damages and, if so, what is the

                proper measure of damages.

          39.   A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually redress

the wrongs done to them. There will be no difficulty in the management of this action as a class

action.

          40.   Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

               the Company’s securities met the requirements for listing, and were listed and

                actively traded on the NYSE, an efficient market;

               as a public issuer, the Company filed public reports;

               the Company communicated with public investors via established market

                communication mechanisms, including through the regular dissemination of press



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                releases via major newswire services and through other wide-ranging public

                disclosures, such as communications with the financial press and other similar

                reporting services;

               the Company’s securities were liquid and traded with moderate to heavy volume

                during the Class Period; and

               the Company was followed by a number of securities analysts employed by major

                brokerage firms who wrote reports that were widely distributed and publicly

                available.

        41.     Based on the foregoing, the market for the Company securities promptly digested

current information regarding the Company from all publicly available sources and reflected such

information in the prices of the common units, and Plaintiff and the members of the Class are

entitled to a presumption of reliance upon the integrity of the market.

        42.     Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material information in their

Class Period statements in violation of a duty to disclose such information as detailed above.

                                            COUNT I
            For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                     Against All Defendants

        43.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        44.     This Count asserted against Defendants is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.




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          45.   During the Class Period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

          46.   Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

                      employed devices, schemes and artifices to defraud;

                      made untrue statements of material facts or omitted to state material facts

                       necessary in order to make the statements made, in light of the

                       circumstances under which they were made, not misleading; or

                      engaged in acts, practices and a course of business that operated as a fraud

                       or deceit upon plaintiff and others similarly situated in connection with their

                       purchases of the Company’s securities during the Class Period.

          47.   Defendants acted with scienter in that they knew that the public documents and

statements issued or disseminated in the name of the Company were materially false and

misleading; knew that such statements or documents would be issued or disseminated to the

investing public; and knowingly and substantially participated, or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the securities laws. These

defendants by virtue of their receipt of information reflecting the true facts of the Company, their

control over, and/or receipt and/or modification of the Company’s allegedly materially misleading

statements, and/or their associations with the Company which made them privy to confidential

proprietary information concerning the Company, participated in the fraudulent scheme alleged

herein.



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       48.      Individual Defendants, who are or were senior executives and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other Company’s personnel to members

of the investing public, including Plaintiff and the Class.

       49.     As a result of the foregoing, the market price of the Company’s securities was

artificially inflated during the Class Period. In ignorance of the falsity of Defendants’ statements,

Plaintiff and the other members of the Class relied on the statements described above and/or the

integrity of the market price of the Company’s securities during the Class Period in purchasing

the Company’s securities at prices that were artificially inflated as a result of Defendants’ false

and misleading statements.

       50.     Had Plaintiff and the other members of the Class been aware that the market price

of the Company’s securities had been artificially and falsely inflated by Defendants’ misleading

statements and by the material adverse information which Defendants did not disclose, they would

not have purchased the Company’s securities at the artificially inflated prices that they did, or at

all.

       51.      As a result of the wrongful conduct alleged herein, Plaintiff and other members of

the Class have suffered damages in an amount to be established at trial.

       52.     By reason of the foregoing, Defendants have violated Section 10(b) of the 1934

Act and Rule 10b-5 promulgated thereunder and are liable to Plaintiff and the other members of

the Class for substantial damages which they suffered in connection with their purchase of the

Company’s securities during the Class Period.



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                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

       53.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       54.     During the Class Period, the Individual Defendants participated in the operation

and management of the Company, and conducted and participated, directly and indirectly, in the

conduct of the Company’s business affairs. Because of their senior positions, they knew the

adverse non-public information about the Company’s misstatement of revenue and profit and false

financial statements.

       55.     As officers of a public business, the Individual Defendants had a duty to

disseminate accurate and truthful information with respect to the Company’s financial condition

and results of operations, and to correct promptly any public statements issued by the Company

which had become materially false or misleading.

       56.      Because of their positions of control and authority as senior executives and/or

directors, the Individual Defendants were able to, and did, control the contents of the various

reports, press releases and public filings which the Company disseminated in the marketplace

during the Class Period concerning the Company’s results of operations. Throughout the Class

Period, the Individual Defendants exercised their power and authority to cause the Company to

engage in the wrongful acts complained of herein. The Individual Defendants therefore, were

“controlling persons” of the Company within the meaning of Section 20(a) of the Exchange Act.

In this capacity, they participated in the unlawful conduct alleged which artificially inflated the

market price of Company securities.




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        57.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Company.

VI.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for judgment and

relief as follows:

        (a)     declaring this action to be a proper class action, designating plaintiff as Lead

Plaintiff and certifying Plaintiff as a class representative under Rule 23 of the Federal Rules of

Civil Procedure and designating Plaintiff’s counsel as Lead Counsel;

        (b)     awarding damages in favor of Plaintiff and the other Class members against all

Defendants, jointly and severally, together with interest thereon;

        (c)     awarding Plaintiff and the Class reasonable costs and expenses incurred in this

action, including counsel fees and expert fees; and

        (d)     awarding Plaintiff and other members of the Class such other and further relief as

the Court may deem just and proper.

VII.    JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.

Dated: March 25, 2024
                                                     FARNAN LLP
 Of Counsel:
                                                     /s/ Brian E. Farnan
 Phillip Kim, Esq.                                   Brian E. Farnan (Bar No. 4089)
 Laurence M. Rosen, Esq.                             Michael J. Farnan (Bar No. 5165)
 THE ROSEN LAW FIRM, P.A.                            919 N. Market Street, 12th Floor
 275 Madison Avenue, 40th Floor                      Wilmington, DE 19801
 New York, New York 10016                            (302) 777-0300
 Telephone: (212) 686-1060                           (302) 777-0301
 Fax: (212) 202-3827                                 bfarnan@farnanlaw.com
 Email: pkim@rosenlegal.com                          mfarnan@farnanlaw.com
 Email: lrosen@rosenlegal.com
                                                     Counsel for Plaintiff and the Proposed Class


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